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12    and Jack Dorsey
13

14                                        UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF CALIFORNIA
15                                           SAN FRANCISCO DIVISION
16

17   DONALD J. TRUMP, et al.,                             Case No. 21-cv-08378-JD
18
                               Plaintiffs,                DECLARATION OF ARI HOLTZBLATT
19                                                        IN SUPPORT OF DEFENDANTS’
             v.                                           RESPONSE TO ORDER TO SHOW
20                                                        CAUSE REGARDING PLAINTIFF
     TWITTER, INC., et al.,                               NAOMI WOLF’S MOTION FOR
21                                                        AN INDICATIVE RULING
                               Defendants.
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      DECLARATION OF ARI HOLTZBLATT                                                 Case No. 21-cv-08378-JD
      IN SUPPORT OF DEFENDANTS’ RESPONSE
          Case 3:21-cv-08378-JD Document 189-2 Filed 01/27/23 Page 2 of 3




1                                  DECLARATION OF ARI HOLTZBLATT

2    I, Ari Holtzblatt, declare and state as follows:

3    1.      I am an attorney licensed to practice law in Washington, D.C. and am one of the counsel of record

4            for Defendants Twitter, Inc. (“Twitter”) and Jack Dorsey in this action. I submit this Declaration

5            in support of Defendants’ Response to this Court’s Order to Show Cause Dkts. 185, 187.

6    2.      Exhibit A is a true and accurate copy of Elon Musk’s Tweet announcing an amnesty for certain

7            suspended accounts, as downloaded on January 26, 2023 from Twitter’s website at

8            https://twitter.com/elonmusk/status/1595869526469533701.

9    3.      Exhibit B is a true and accurate copy of recent Tweets posted by Naomi Wolf, as downloaded

10           on January 26, 2023 from Twitter’s website at https://twitter.com/naomirwolf.

11   4.      Exhibit C is a true and accurate copy of Twitter’s blog post regarding its COVID-19 misleading

12           information policy, as downloaded on January 26, 2023 from Twitter’s website at

13           https://blog.twitter.com/en_us/topics/company/2020/covid-19.

14   5.      Exhibit D is a true and accurate copy of Twitter’s help center page titled “About Community

15           Notes on Twitter,” as downloaded on January 27, 2023 from Twitter’s website at

16           https://help.twitter.com/en/using-twitter/community-notes.

17           I declare under penalty of perjury that the foregoing is true and correct. Executed on this 27th

18   day of January 2023 in Washington, D.C.

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20                                                      By: /s/ Ari Holtzblatt___
                                                            Ari Holtzblatt
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      DECLARATION OF ARI HOLTZBLATT                         1                          Case No. 21-cv-08378-JD
      IN SUPPORT OF DEFENDANTS’ RESPONSE
          Case 3:21-cv-08378-JD Document 189-2 Filed 01/27/23 Page 3 of 3




1                                        CERTIFICATE OF SERVICE

2             I hereby certify that on January 27, 2023 I electronically filed the above document with the Clerk

3    of the Court using CM/ECF which will send electronic notification of these filings to all registered

4    counsel.

5    Dated:     January 27, 2023                     By:       /s/ Ari Holtzblatt
                                                               ARI HOLTZBLATT
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      DECLARATION OF ARI HOLTZBLATT                        1                            Case No. 21-cv-08378-JD
      IN SUPPORT OF DEFENDANTS’ RESPONSE
